Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 1 of 64 PageID #: 196



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

UNITED SERVICES AUTOMOBILE                   )
ASSOCIATION                                  )
a Texas reciprocal inter-insurance exchange, )
                                             )
               Plaintiff,                    )
                                             )
                                                   Civil Action No. 2:18-CV-245
        v.                                   )
                                                   JURY TRIAL DEMANDED
                                             )
WELLS FARGO BANK, N.A.,                      )
a national banking association,              )
                                             )
                Defendant.                   )




DEFENDANT WELLS FARGO BANK, N.A.’S ANSWER, AFFIRMATIVE DEFENSES,
         AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

       Defendant Wells Fargo Bank, N.A. (“Wells Fargo”), by and through its undersigned

counsel, responds to the allegations of Plaintiff’s Complaint as follows:

       The first paragraph of the Complaint is an introductory paragraph that does not require a

response by Wells Fargo. To the extent that this introductory paragraph requires a response, Wells

Fargo admits that the Complaint purports to have been filed by United Services Automobile

Association (“USAA”), a Texas reciprocal inter-insurance exchange, by and through its

undersigned counsel of Irell & Manella LLP and Parker, Bunt & Ainsworth, P.C.

        1.     Wells Fargo expressly denies any allegation it has committed acts of patent

infringement. Wells Fargo admits that USAA has obtained “multiple patents issued by the

United States Patent and Trademark Office.” Wells Fargo is without knowledge or information

sufficient to form a belief as to the truth of the remaining allegations of paragraph 1 of the

Complaint and, on that basis, denies all such allegations.
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 2 of 64 PageID #: 197



                                     I.      THE PARTIES

       2.      Wells Fargo admits that “USAA is a reciprocal interinsurance exchange and

unincorporated association organized under the laws of the State of Texas having its principal

place of business at 9800 Fredericksburg Road, San Antonio, Texas 78288.” Wells Fargo further

admits that the USAA family of companies provides insurance, banking, investments, retirement

products and services to members of the military and their eligible family members. Wells Fargo

further admits that USAA “does business in this judicial district, and through its website at

www.usaa.com and USAA Mobile smartphone applications.” Unless specifically admitted, Wells

Fargo is without knowledge or information to form a belief as to the truth of the remaining

allegations in paragraph 2 of the Complaint and, on that basis, denies all such allegations.

       3.      Wells Fargo admits the allegations of paragraph 3 of the Complaint.

                            II.     JURISDICTION AND VENUE

       4.      Wells Fargo admits that this Court has subject matter jurisdiction over this action.

        5.     Wells Fargo admits it is registered to do business in Texas and maintains an agent

authorized to receive service of process within Texas. Wells Fargo further admits that it operates

bank branches and ATMs in the state of Texas and in this judicial district. Unless specifically

admitted, Wells Fargo denies the remaining allegations of paragraph 5 of the Complaint,

including (but not limited to) any allegation that Wells Fargo has committed any act of

infringement within this judicial district, the State of Texas, or elsewhere in the United States.

       6.      While Wells Fargo does not contest that venue is proper in this judicial district,

venue is not convenient for Wells Fargo and its witnesses, and Wells Fargo reserves the right to

seek transfer pursuant to 28 U.S.C. § 1404. Wells Fargo denies that it has committed any act of




                                               -2-
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 3 of 64 PageID #: 198



infringement within this judicial district, the State of Texas, or elsewhere in the United States that

would render venue proper under 28 U.S.C. § 1400(b).

                              III.    FACTUAL ALLEGATIONS

               USAA’s [Alleged] Pioneering Remote Check Deposit Innovations

       7.      Wells Fargo admits USAA has been issued patents. Unless specifically admitted,

Wells Fargo denies the remaining allegations of paragraph 7 of the Complaint.

       8.      Wells Fargo is without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 8 of the Complaint and, on that basis, denies all such

allegations.

       9.      Wells Fargo is without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 9 of the Complaint and, on that basis, denies all such

allegations.

       10.     Wells Fargo denies the allegations of paragraph 10 of the Complaint.

       11.     Wells Fargo denies the allegation that “[f]or the first time, Deposit@Mobile®

allowed customers to deposit checks anytime, anywhere by taking photographs with a mobile

phone’s digital camera.” Unless specifically admitted, Wells Fargo is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations of paragraph 11

of the Complaint and, on that basis, denies all such allegations.

       12.     Wells Fargo is without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 12 of the Complaint and, on that basis, denies all such

allegations.




                                                -3-
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 4 of 64 PageID #: 199



                                   The USAA Patents-in-Suit

       13.     Wells Fargo admits that the ’719, ’517, ’090, and ’571 Patents list USAA as the

assignee. Wells Fargo is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations of paragraph 13 of the Complaint and, on that basis, denies all

such allegations.

                                   The ’779 and ’517 Patents

       14.     Wells Fargo admits that the ’779 and ’517 Patents are entitled “Systems and

methods for alignment of check during mobile deposit” and indicate on their face that Bharat

Prasad, Minya Liang, and Reynaldo Medina are inventors. Wells Fargo further admits that

paragraph 14 of the Complaint includes a figure from the ’779 and ’517 patents. Unless

specifically admitted, Wells Fargo denies the remaining allegations of paragraph 14 of the

Complaint, including (but not limited to) any allegation that Wells Fargo has committed any act

of infringement, and any allegation that the ’779 and ’517 patents are directed to any

improvements over the prior art.

       15.     Wells Fargo admits that the ’779 and ’517 Patents state, “[a]n alignment guide may

be provided in the field of view of a camera associated with a mobile device used to capture an

image of a check.” Wells Fargo further admits that the ’779 and ’517 Patents state, “[t]he

alignment guide may be adjustable at the mobile device.” Wells Fargo further admits that the

’779 and ’517 Patents state, “[i]n an implementation, an image may be captured when the image

of the check is detected to be within the alignment guide.” Wells Fargo further admits that the

’779 and ’517 Patents state, “[i]n an implementation, the image capture may be performed

automatically by the camera or the mobile device as soon as the image of the check is determined

to be within the alignment guide.” Unless specifically admitted, Wells Fargo denies the remaining




                                              -4-
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 5 of 64 PageID #: 200



allegations of paragraph 15 of the Complaint, including (but not limited to) any allegation that the

’779 and ’517 Patents were “new, novel, and useful,” provide any improvements over the prior

art, or “solve discrete, technological problems associated with computing systems.”

                                    The ’090 and ’571 Patents

       16.     Wells Fargo admits that the ’090 and ’571 Patents indicate on their face that

Michael Patrick Bueche, Jr., Bharat Presad, Minya Liang, Reynaldo Medina, and Charles Lee

Oakes III are inventors. Wells Fargo further admits that paragraph 16 of the Complaint includes

a figure from the ’090 and ’571 Patents. Unless specifically admitted, Wells Fargo denies the

remaining allegations of paragraph 16 of the Complaint, including (but not limited to) any

allegation that Wells Fargo has committed any act of infringement, and any allegation that the ’090

’571 Patents are directed to any improvements over the prior art.

       17.     Wells Fargo admits that the ’090 and ’571 Patents state, “[w]hen the image of the

check in the field of view passes monitoring criteria, an image may be taken by the camera and

provided from the mobile device to a financial institution.” Wells Fargo admits that the ’090 and

’571 Patents state, “[t]he image capture may be performed automatically as soon as the image of

the check is determined to pass the monitoring criteria.” Wells Fargo admits that the ’090 and

’571 Patents state, “[f]eedback may be provided to the user of the camera regarding the image of

the check in the field of view.” Unless specifically admitted, Wells Fargo denies the remaining

allegations of paragraph 17 of the Complaint, including (but not limited to) any allegation that the

’779 and 517’ Patents were “new, novel, and useful,” provide any improvements over the prior

art, or “solve discrete, technological problems associated with computing systems.”

                             Wells Fargo’s [Alleged] Infringement

       18.     Wells Fargo admits the allegations of paragraph 18 of the Complaint.




                                               -5-
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 6 of 64 PageID #: 201



       19.       Wells Fargo expressly denies any allegation it committed acts of patent

infringement. Wells Fargo admits that USAA collectively refers to Wells Fargo’s remote deposit

capture systems as “Wells Fargo Mobile Deposit” in the Complaint. Unless specifically admitted,

Wells Fargo denies the remaining allegations of paragraph 19 of the Complaint.

       20.       Wells Fargo is without knowledge or information sufficient to form a belief as to

the truth of the allegations of paragraph 20 of the Complaint and, on that basis, denies all such

allegations.

       21.       Wells Fargo admits that on June 26, 2012, a Wells Fargo representative—

identified as Brian Pearce—is quoted as stating about mobile deposit that “[i]t’s the service

our mobile customers request most often,” and that “[t]here’s a lot of demand for this service.”

Unless specifically admitted, Wells Fargo denies the remaining allegations of paragraph 21 of

the Complaint.

       22.       Wells Fargo admits the allegations of paragraph 22 of the Complaint.

       23.       Wells Fargo admits the allegations of paragraph 23 of the Complaint.

       24.       Wells Fargo admits that Mobile Deposit is incorporated into the “Wells Fargo

Mobile” iPhone and Android applications, where it is highlighted as a feature in the applications’

descriptions. Wells Fargo further admits that “[a]ccording to the Google Play Store, Wells Fargo

Mobile has been downloaded over 10 million times on Android devices.” Wells Fargo further

admits that (as of the date of the Complaint) “Wells Fargo Mobile for iPhone” has a “ranking [of]

#8 on the iTunes App Store’s Finance category.” Unless specifically admitted, Wells Fargo denies

the remaining allegations of paragraph 24 of the Complaint.

       25.       Wells Fargo admits that “Wells Fargo Mobile Deposit allows customers to

deposit checks remotely,” and that this process may include the steps of “identifying an account




                                                -6-
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 7 of 64 PageID #: 202



for deposit, [and] entering the dollar amount of the deposit.” Wells Fargo further admits that

sequence of screenshots in paragraph 25 of the Complaint could be found on Wells Fargo’s

website as of the filing of this Answer. Unless specifically admitted, Wells Fargo denies the

remaining allegations of paragraph 24 of the Complaint.

       26.     Wells Fargo denies the allegations of paragraph 26 of the Complaint.

       27.     Wells Fargo denies the allegations of paragraph 27 of the Complaint.

       28.     Wells Fargo admits that USAA approached Wells Fargo in August 2017 to

discuss USAA’s Remote Deposit Capture (RDC) patents. Wells Fargo denies any allegation that

Wells Fargo has committed any act of infringement. Unless specifically admitted, Wells Fargo

is without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations of paragraph 28 of the Complaint and, on that basis, denies all such allegations.

                   IV.     FIRST CLAIM FOR RELIEF – ’779 PATENT

       29.     Paragraph 29 does not require a response by Wells Fargo.

       30.     Wells Fargo admits that the ’779 Patent is entitled “Systems and methods for

alignment of check during mobile deposit” and indicates on its face that it issued on April 15,

2014. Wells Fargo admits that Exhibit 1 to the Complaint purports to be a copy of the ’779 Patent.

Wells Fargo denies that the ’779 Patent was duly and lawfully issued. Any remaining allegations

are denied.

       31.     Wells Fargo admits that the ’779 Patent lists USAA as the assignee. Unless

specifically admitted, Wells Fargo denies the remaining allegations of paragraph 31 of the

Complaint, including (but not limited to) any allegation that Wells Fargo has committed any act

of infringement (whether literal or under the doctrine of equivalents).




                                               -7-
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 8 of 64 PageID #: 203



       32.    Wells Fargo admits that Wells Fargo Mobile Deposit is accessible from Android or

iPhone smartphones. Any remaining allegations of paragraph 32 of the Complaint are denied.

       33.    Wells Fargo admits that Wells Fargo Mobile Deposit is accessible from Android or

iPhone smartphones. Any remaining allegations of paragraph 33 of the Complaint are denied.

       34.    Wells Fargo admits that the version of Wells Fargo Mobile Deposit depicted in

paragraph 34 of the Complaint instructs the user to indicate the amount to be deposited and the

account into which the check is to be deposited. Unless specifically admitted, Wells Fargo denies

the remaining allegations of paragraph 34 of the Complaint.

       35.    Wells Fargo denies the allegations of paragraph 35 of the Complaint.

       36.    Wells Fargo admits that the version of the Wells Fargo Mobile Deposit depicted in

paragraph 35 of the Complaint states, “Center check and hold steady. Or tap the camera button.”

Unless specifically admitted, Wells Fargo denies the remaining allegations of paragraph 36 of the

Complaint.

       37.    Wells Fargo denies the allegations of paragraph 37 of the Complaint.

       38.    Wells Fargo denies the allegations of paragraph 38 of the Complaint.

       39.    Wells Fargo admits that USAA has approached Wells Fargo regarding licensing

of USAA’s mobile deposit patents.       Unless specifically admitted, Wells Fargo denies the

remaining allegations of paragraph 39 of the Complaint, including (but not limited to) any

allegation that Wells Fargo has committed any act of infringement.

       40.    Wells Fargo denies the allegations of paragraph 40 of the Complaint.

       41.    Wells Fargo denies the allegations of paragraph 41 of the Complaint.

        42.   Wells Fargo denies the allegations of paragraph 42 of the Complaint.

       43.    Wells Fargo denies the allegations of paragraph 43 of the Complaint.




                                              -8-
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 9 of 64 PageID #: 204



       44.     Wells Fargo denies the allegations of paragraph 44 of the Complaint.

       45.     Wells Fargo denies the allegations of paragraph 45 of the Complaint.

                  V.     SECOND CLAIM FOR RELIEF – ’517 PATENT

       46.     Paragraph 46 does not require a response by Wells Fargo.

       47.     Wells Fargo admits that the ’517 Patent is entitled “Systems and methods for

alignment of check during mobile deposit,” and indicates on its face that it issued on May 10,

2016. Wells Fargo admits that Exhibit 2 to the Complaint purports to be a copy of the ’517 patent.

Wells Fargo denies that the ’517 patent was duly and lawfully issued. Any remaining allegations

are denied.

       48.     Wells Fargo admits that the ’517 Patent lists USAA as the assignee. Unless

specifically admitted, Wells Fargo denies the remaining allegations of paragraph 48 of the

Complaint.

       49.     Wells Fargo denies the allegations of paragraph 49 of the Complaint.

       50.     Wells Fargo admits that Wells Fargo Mobile Deposit is accessible from Android or

iPhone smartphones. Any remaining allegations of paragraph 50 of the Complaint are denied.

       51.     Wells Fargo admits that Wells Fargo Mobile Deposit is accessible from Android or

iPhone smartphones. Any remaining allegations of paragraph 51 of the Complaint are denied.

       52.     Wells Fargo admits that the version of Wells Fargo Mobile Deposit depicted in

paragraph 52 of the Complaint instructs the user to indicate the amount to be deposited and the

account into which the check is to be deposited. Unless specifically admitted, Wells Fargo denies

the remaining allegations of paragraph 52 of the Complaint.

       53.     Wells Fargo denies the allegations of paragraph 53 of the Complaint.




                                              -9-
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 10 of 64 PageID #: 205



       54.     Wells Fargo admits that the version of the Wells Fargo Mobile Deposit depicted in

paragraph 53 of the Complaint states, “Center check and hold steady. Or tap the camera button.”

Unless specifically admitted, Wells Fargo denies the remaining allegations of paragraph 54 of the

Complaint.

       55.     Wells Fargo denies the allegations of paragraph 55 of the Complaint.

       56.     Wells Fargo denies the allegations of paragraph 56 of the Complaint.

       57.     Wells Fargo admits that USAA has approached Wells Fargo regarding licensing of

USAA’s mobile deposit patents. Unless specifically admitted, Wells Fargo denies the remaining

allegations of paragraph 57 of the Complaint, including (but not limited to) any allegation that

Wells Fargo has committed any act of infringement.

       58.     Wells Fargo denies the allegations of paragraph 58 of the Complaint.

       59.     Wells Fargo denies the allegations of paragraph 59 of the Complaint.

       60.     Wells Fargo denies the allegations of paragraph 60 of the Complaint.

       61.     Wells Fargo denies the allegations of paragraph 61 of the Complaint.

       62.     Wells Fargo denies the allegations of paragraph 62 of the Complaint.

       63.     Wells Fargo denies the allegations of paragraph 63 of the Complaint.

       64.     Wells Fargo denies the allegations of paragraph 64 of the Complaint.

                   VI.    THIRD CLAIM FOR RELIEF – ’090 PATENT

       65.     Paragraph 65 does not require a response by Wells Fargo.

       66.     Wells Fargo admits that Exhibit 3 to the Complaint purports to be a copy of the

’090 patent. Wells Fargo denies that the ’090 patent was duly and lawfully issued. Any remaining

allegations are denied.




                                             - 10 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 11 of 64 PageID #: 206



       67.     Wells Fargo admits that the ‘090 Patent lists USAA as the assignee. Unless

specifically admitted, Wells Fargo denies the remaining allegations of paragraph 67 of the

Complaint, including (but not limited to) any allegations that Wells Fargo has committed any act

of infringement either literally and/or under the doctrine of equivalents.

       68.     Wells Fargo admits that Wells Fargo Mobile Deposit is accessible from Android or

iPhone smartphones. Any remaining allegations of paragraph 68 of the Complaint are denied.

       69.     Wells Fargo admits that Wells Fargo Mobile Deposit is accessible from Android or

iPhone smartphones. Any remaining allegations of paragraph 69 of the Complaint are denied.

       70.     Wells Fargo admits that the version of Wells Fargo Mobile Deposit depicted in

paragraph 70 of the Complaint instructs the user to indicate the amount to be deposited and the

account into which the check is to be deposited. Unless specifically admitted, Wells Fargo denies

the remaining allegations of paragraph 70 of the Complaint.

       71.     Wells Fargo denies the allegations of paragraph 71 of the Complaint.

       72.     Wells Fargo admits that the version of the Wells Fargo Mobile Deposit depicted in

paragraph 71 of the Complaint states, “Center check and hold steady. Or tap the camera button.”

Unless specifically admitted, Wells Fargo denies the remaining allegations of paragraph 72 of the

Complaint.

       73.     Wells Fargo denies the allegations of paragraph 73 of the Complaint.

       74.     Wells Fargo denies the allegations of paragraph 74 of the Complaint.

       75.     Wells Fargo denies the allegations of paragraph 75 of the Complaint.

       76.     Wells Fargo admits that USAA has approached Wells Fargo regarding licensing

of USAA’s mobile deposit patents.        Unless specifically admitted, Wells Fargo denies the




                                               - 11 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 12 of 64 PageID #: 207



remaining allegations of paragraph 76 of the Complaint, including (but not limited to) any

allegation that Wells Fargo has committed any act of infringement.

       77.     Wells Fargo denies the allegations of paragraph 77 of the Complaint.

       78.     Wells Fargo denies the allegations of paragraph 78 of the Complaint.

       79.     Wells Fargo denies the allegations of paragraph 79 of the Complaint.

       80.     Wells Fargo denies the allegations of paragraph 80 of the Complaint.

       81.     Wells Fargo denies the allegations of paragraph 81 of the Complaint.

       82.     Wells Fargo denies the allegations of paragraph 82 of the Complaint.

       83.     Wells Fargo denies the allegations of paragraph 83 of the Complaint.

                 VII.    FOURTH CLAIM FOR RELIEF – ’571 PATENT

       84.     Paragraph 84 does not require a response by Wells Fargo.

       85.     Wells Fargo admits that the ’571 Patent is entitled “Systems and methods for image

monitoring of check during mobile deposit” and indicates on its face that it issued on March 10,

2015. Wells Fargo admits that Exhibit 4 to the Complaint purports to be a copy of the ’571 patent.

Wells Fargo denies that the ’571 patent was duly and lawfully issued. Any remaining allegations

are denied.

       86.     Wells Fargo admits that the ’571 Patent lists USAA as the assignee. Unless

specifically admitted, Wells Fargo denies the remaining allegations of paragraph 86 of the

Complaint

       87.     Wells Fargo admits that Wells Fargo Mobile Deposit is accessible from Android or

iPhone smartphones. Any remaining allegations of paragraph 87 of the Complaint are denied.

       88.     Wells Fargo admits that Wells Fargo Mobile Deposit is accessible from Android or

iPhone smartphones. Any remaining allegations of paragraph 88 of the Complaint are denied.




                                              - 12 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 13 of 64 PageID #: 208



       89.    Wells Fargo admits that the version of Wells Fargo Mobile Deposit depicted in

paragraph 89 of the Complaint instructs the user to indicate the amount to be deposited and the

account into which the check is to be deposited. Unless specifically admitted, Wells Fargo denies

the remaining allegations of paragraph 89 of the Complaint.

       90.    Wells Fargo denies the allegations of paragraph 90 of the Complaint.

       91.    Wells Fargo admits that the version of the Wells Fargo Mobile Deposit depicted in

paragraph 90 of the Complaint states, “Center check and hold steady. Or tap the camera button.”

Unless specifically admitted, Wells Fargo denies the remaining allegations of paragraph 91 of the

Complaint.

       92.    Wells Fargo denies the allegations of paragraph 92 of the Complaint.

       93.    Wells Fargo denies the allegations of paragraph 93 of the Complaint.

       94.    Wells Fargo denies the allegations of paragraph 94 of the Complaint.

       95.    Wells Fargo admits that USAA has approached Wells Fargo regarding licensing of

USAA’s mobile deposit patents. Unless specifically admitted, Wells Fargo denies the remaining

allegations of paragraph 95 of the Complaint, including (but not limited to) any allegation that

Wells Fargo has committed any act of infringement.

       96.    Wells Fargo denies the allegations of paragraph 96 of the Complaint.

       97.    Wells Fargo denies the allegations of paragraph 97 of the Complaint.

       98.    Wells Fargo denies the allegations of paragraph 98 of the Complaint.

       99.    Wells Fargo denies the allegations of paragraph 99 of the Complaint.

       100.   Wells Fargo denies the allegations of paragraph 100 of the Complaint.

       101.   Wells Fargo denies the allegations of paragraph 101 of the Complaint.

       102.   Wells Fargo denies the allegations of paragraph 102 of the Complaint.




                                             - 13 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 14 of 64 PageID #: 209



                               VIII. PRAYER FOR RELIEF

              Wells Fargo denies that USAA is entitled to any relief from Wells Fargo and denies

all of the allegations contained paragraphs “A.” through “H.” of USAA’s Prayer for Relief.

                            IX.    DEMAND FOR JURY TRIAL

        103. Wells Fargo admits that the Complaint sets forth a request for trial by jury.




                                             - 14 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 15 of 64 PageID #: 210



                                 AFFIRMATIVE DEFENSES

       Wells Fargo’s Affirmative Defenses are listed below. Wells Fargo reserves the right to

amend its Answer to add additional affirmative defenses, including allegations of inequitable

conduct, consistent with the facts discovered in this case.

                                        FIRST DEFENSE
                                       (Non-Infringement)

       1.      Wells Fargo does not infringe and has not infringed, under any theory of

infringement (including directly (whether individually or jointly), indirectly (whether

contributorily or by inducement)), and/or under the doctrine of equivalents, any valid, enforceable

claim of the Asserted Patents.

                                      SECOND DEFENSE
                                         (Invalidity)

       2.      Each asserted claim of the Asserted Patents is invalid for failure to comply with

one or more requirements of United States Code, Title 35, including without limitation, 35 U.S.C.

§§ 101, 102, 103, and/or 112, and the rules, regulations, and laws pertaining thereto.

                                       THIRD DEFENSE
                                    (Limitation on Damages)

       3.      To the extent that USAA failed to properly mark any of its relevant products as

required by 35 U.S.C. § 287 or otherwise give proper notice that Wells Fargo’s actions allegedly

infringed the Asserted Patents, Wells Fargo is not liable to USAA for the acts alleged to have been

performed before it received actual notice that it was allegedly infringing the Asserted Patents.

Accordingly, upon information and belief, USAA’s claims for recovery of alleged damages may

be limited by 35 U.S.C. § 287. In addition, upon information and belief, USAA’s claims for

recovery of alleged damages are limited by 35 U.S.C. § 286, and USAA is barred from recovering

costs in connection with this action under 35 U.S.C. § 288.



                                               - 15 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 16 of 64 PageID #: 211



                                     FOURTH DEFENSE
                                     (Lack of Knowledge)

       4.      To the extent that USAA asserts that Wells Fargo indirectly infringes, either by

contributory infringement or inducement of infringement, Wells Fargo is not liable to USAA for

the acts alleged to have been performed before Wells Fargo knew that its actions would allegedly

cause indirect infringement.

                                     FIFTH DEFENSE
                          (Prosecution History Estoppel/Disclaimer)

       5.      USAA’s claims are barred, in whole or in part, based on prosecution history

estoppel and/or prosecution history disclaimer.

                                      SIXTH DEFENSE
                                     (Equitable Defenses)

       6.      On information and belief, USAA’s claims are barred, in whole or in part, by

equitable doctrines including the doctrines of waiver, laches, acquiescence, unclean hands, and/or

equitable estoppel.

                                    SEVENTH DEFENSE
                                        (License)

       7.      On information and belief, USAA’s claims are barred, at least in part, by the

existence of licenses or releases between USAA and other third-parties. For example, USAA sued

Mitek Systems, Inc., the leading technology company for mobile check deposit, in March 2012 in

the United States District Court for the Western District of Texas in connection with Mitek

Systems’ Mobile Deposit product and its patents related to mobile check deposit technology (with

a provisional application filed as early as January 18, 2008). On information and belief, at least

by July 2014, 2500 banks, including all of the top ten retail banks, had chosen to use Mitek

Systems’ Mobile Deposit product. Wells Fargo was one such bank. In September 2014, USAA

and Mitek Systems reached a full settlement of all claims and issues between the parties, and in


                                              - 16 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 17 of 64 PageID #: 212



connection therewith, USAA dismissed with prejudice its claims and counterclaims of

misappropriation of trade secrets, breach of contract, reimbursement, fraud and fraudulent

inducement, correction of inventorship, and invalidity of Mitek Systems’ patents asserted in that

litigation. Accordingly, USAA’s claims alleged in this case against Wells Fargo are barred by

license or release.

                 PRAYER FOR RELIEF ON PLAINTIFF’S COMPLAINT

       WHEREFORE, Wells Fargo asks this Court to enter judgment in Wells Fargo’s favor and

against USAA by granting the following relief:

       a)      Dismissal of all claims in USAA’s Complaint with prejudice and a complete denial

of USAA’s request for a judgment of infringement, validity, enforceability, damages, interest,

costs, and any other form of relief; and

       b)      An award to Wells Fargo of its reasonable attorneys’ fees, costs, and all interest

(including without limitation any attorney fee awards based upon 35 U.S.C. § 285) and any such

other and further relief as the Court finds just and proper.

                                       COUNTERCLAIMS

       1.      For its Counterclaims against Counterclaim Defendant United Services Automobile

Association (“USAA”), Counterclaim Plaintiff Wells Fargo Bank, N.A. (“Wells Fargo”), based on

personal knowledge as to all acts or events that it has undertaken or witnessed, and upon

information and belief as to all others, alleges the following. Wells Fargo reserves the right to

amend its Counterclaims further to add additional counts, including allegations of inequitable

conduct, consistent with the facts discovered in this case.




                                                - 17 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 18 of 64 PageID #: 213



                                 NATURE OF THE ACTION

         2.    This is an action by Defendant and Counterclaim Plaintiff Wells Fargo pursuant to

Rule 13 of the Federal Rules of Civil Procedure for declarations of non-infringement and invalidity

of U.S. Patent Nos. 8,699,779 (“’779 Patent); 9,336,517 (“’517 Patent”); 9,818,090 (the “’090

Patent”); and 8,977,571 (the “’571 Patent”) (the “Asserted Patents”). Counterclaim Plaintiff Wells

Fargo strongly denies any claims of patent infringement. Taking and processing check images

using a digital camera or mobile device was well-understood, routine, and conventional prior to

the Asserted Patents. Counterclaim Plaintiff Wells Fargo prioritizes providing its customers with

a simple, easy-to-use, and customer-driven mobile banking experience.

                                           PARTIES

         3.    Counterclaim Plaintiff Wells Fargo is a national banking association, with its

principal place of business at 101 North Phillips Avenue, One Wachovia Center, Sioux Falls, SD

57104.

         4.    On information and belief, and based on paragraph 2 of the Complaint as pled by

USAA, Counterclaim Defendant USAA is an unincorporated association organized under the laws

of the State of Texas, with a principal place of business at 9800 Fredericksburg Road, San Antonio,

Texas 78288.

                                        JURISDICTION

         5.    These counterclaims arise under the patent laws of the United States, Title 35,

United States Code, or are so related to claims arising under Title 35, United States Code, as to

form part of the same case or controversy under Article III of the United States Constitution. The

jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq., and 28 U.S.C. §§ 1331,

1338, 1367, and 2201-02.




                                              - 18 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 19 of 64 PageID #: 214



        6.      Counterclaim Defendant USAA, based on averments in USAA’s Complaint, claims

to own all rights, title, and interest in and to the Asserted Patents and claims to possess all rights

of recovery. Counterclaim Defendant USAA has also claimed in its Complaint that Wells Fargo

has infringed the Asserted Patents, which Wells Fargo expressly denies.

        7.      Counterclaim Defendant USAA has consented to personal jurisdiction by

commencing its action for patent infringement in this judicial district, as set forth in its Complaint.

        8.      Counterclaim Defendant USAA has claimed that venue is proper in this judicial

district under 28 U.S.C. § 1400(b), but venue is not convenient for Wells Fargo and Wells Fargo’s

witnesses and Wells Fargo reserves the right to seek transfer pursuant to 28 U.S.C. § 1404. To the

extent this action remains in this district, venue is appropriate for Wells Fargo’s counterclaims

because USAA has consented to venue in this Court by filing its claims for alleged patent

infringement in this district.

                                  FACTUAL ALLEGATIONS

        9.      The ’779 Patent and the ’517 Patent share the same August 28, 2009 priority date.

        10.     The ’571 Patent and the ’090 Patent share the same August 21, 2009 priority date.




                                                - 19 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 20 of 64 PageID #: 215



                                 Prior Art Viewfinders and Live Preview

           11.     A viewfinder is a device on a camera that shows the photographer the area of the

subject to be included in a photograph. 1 There are multiple variations of viewfinders, including

optical viewfinders and electronic viewfinders. 2 A camera which features an optical viewfinder

utilizes one or more mirrors to project the image captured through the lens into the viewfinder. 3

An electronic viewfinder, on the other hand, does not use mirrors. Rather, the image captured

through the lens is electronically reproduced on a screen, such as a liquid crystal display (“LCD”)

screen. 4 Both types of viewfinders have been featured in cameras since before 2009.

           12.     Both optical viewfinders and electronic viewfinders have been featured in cameras

since before the priority dates of the Asserted Patents.

           13.     The “Ensign Ful-Vue” camera was released in the 1930’s. It was a box camera

which featured a viewfinder located on the top of the camera body. 5

           14.     A representative image of the “Ensign Ful-Vue” camera is below:




1
    https://www.britannica.com/technology/viewfinder.
2
  https://www.canon.com.au/explore/glossary/viewfinder. See also https://www.slrlounge.com/glossary/viewfinder-
photography-definition/.
3
    https://www.slrlounge.com/glossary/viewfinder-photography-definition/.
4
    https://www.slrlounge.com/glossary/viewfinder-photography-definition/.
5
    http://www.ensign.demon.co.uk/ful-vue.htm.



                                                        - 20 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 21 of 64 PageID #: 216




                                                                      6


           15.     An updated version of the “Ensign Ful-Vue” camera—the “Barnet Ensign Ful-

Vue” camera—was released in the 1940’s. Like the “Ensign Ful-Vue” camera, the “Barnet Ensign

Ful-Vue” camera also featured a viewfinder located at the top of the camera body. 7

           16.     A representative image of the “Barnet Ensign Ful-Vue,” camera, identifying the

viewfinder, is below:




6
    http://www.classiccameratrials.com/EN03fulvue.htm.
7
    http://www.ensign.demon.co.uk/ful-vue.htm.



                                                     - 21 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 22 of 64 PageID #: 217




                                                                              8


           17.     The “Brownie No. 2” camera was a camera produced by Eastman Kodak in the first

half of the Twentieth Century. Like the “Ensign Ful-Vue” and the “Barnet Ensign Ful-Vue” it

also featured a viewfinder—it was located on the top and side of the camera. 9

           18.     An image of the “Brownie No. 2” camera, demonstrating inclusion of the

viewfinders, is below:




8
    http://www.ensign.demon.co.uk/ful-vue.htm.
9
    http://www.brownie-camera.com/; http://www.brownie-camera.com/53.shtml.



                                                    - 22 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 23 of 64 PageID #: 218




                                                                                   10


           19.     As technology progressed, box cameras, and the placement of the viewfinder on

the top of box cameras, became less commonplace.

           20.     In the late 1940’s and early 1950’s, Canon produced a camera—the “Canon IIB”—

which also featured a viewfinder. This optical viewfinder was at eye level, rather than being

located on the top of the camera body. 11

           21.     A representative image of the “Canon IIB” is below:




10
     https://www.fi.edu/history-resources/kodak-brownie-camera.
11
  http://collection.sciencemuseum.org.uk/objects/co8085467/canon-iib-camera-35mm-camera-single-lens-reflex-
camera.



                                                       - 23 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 24 of 64 PageID #: 219




                                                                                     12


           22.      Even in 2018, many cameras still feature optical viewfinders.

           23.      Another variant of the viewfinder is the electronic viewfinder.

           24.      In 1975, an engineer at Eastman Kodak produced the first electronic camera. 13

           25.      In 1992, the United States Patent and Trademark Office issued U.S Patent No.

5,164,833, titled “Electronic Viewfinder.” The abstract of the ’833 Patent provides: “[a] display

apparatus for an electronic image having an image memory for storing video image data of a

number of fields or a number of frames, which are obtained by processing with a signal processing

circuit, a video image signal from an image detecting element on which reflected light from a

subject is imaged through an optical system and displaying video image data stored in the image

memory to form a picture having the desired field or frame on a display unit.” 14

           26.      An example of a camera featuring an electronic viewfinder is the Minolta Dimage

A1. The Minolta Dimage A1 was introduced in 2003. 15

           27.      Below is an image of a Minolta Dimage A1:


12
  http://collection.sciencemuseum.org.uk/objects/co8085467/canon-iib-camera-35mm-camera-single-lens-reflex-
camera.
13
     https://lens.blogs.nytimes.com/2015/08/12/kodaks-first-digital-moment/.
14
     U.S. Patent No. 5,164,833 (attached as Exhibit 1)
15
     https://www.dpreview.com/reviews/minoltadimagea1.



                                                         - 24 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 25 of 64 PageID #: 220




                                                                              16



           28.     Another example of a camera featuring an electronic viewfinder it the Sony Cyber-

shot DSC-H1, which was released in 2005. 17

           29.     An image of the Sony Cyber-shot DSC-H1 is below:




16
     https://www.dpreview.com/reviews/minoltadimagea1/2.
17
     https://www.dpreview.com/reviews/sonydsch1.



                                                    - 25 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 26 of 64 PageID #: 221




                                                                                   18



           30.     To this day, viewfinders—both optical and electronic—are still featured in

cameras.

           31.     The use of viewfinders, including electronic viewfinders, in cameras predates the

priority dates of the Asserted Patents.

           32.     Viewfinders, including electronic viewfinders, were featured in hundreds of

cameras prior to the priority date of the Asserted Patents.

           33.     The use of viewfinders, including electronic viewfinders, in cameras was well-

understood, routine, and conventional prior to the priority dates of the Asserted Patents.

           34.     “Live Preview” is a functionality whereby a digital camera’s display screen can be

used as a viewfinder to frame and shoot pictures. 19




18
     https://www.dpreview.com/reviews/sonydsch1/3.
19
     https://www.pcmag.com/encyclopedia/term/59014/live-preview.



                                                     - 26 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 27 of 64 PageID #: 222



           35.      In the mid-1990’s, Casio introduced the QV-10 camera, which featured an LCD

screen complete with Live Preview functionality. Unlike many other cameras, the QV-10 did not

feature a viewfinder. 20

           36.      An image of the back of the Casio QV-10, demonstrating the LCD screen, is below:




                                                                                                        21



           37.      The Canon PowerShot G1, released in 2000, is another example of a camera which

featured an LCD screen and Live Preview functionality. 22

           38.      An image showing the Canon PowerShot G1, including its LCD screen, is below:




20
     https://petapixel.com/2012/09/05/casio-qv-10-the-first-digital-camera-that-offered-an-lcd-screen-and-live-view/.
21
     https://petapixel.com/2012/09/05/casio-qv-10-the-first-digital-camera-that-offered-an-lcd-screen-and-live-view/.
22
     https://www.dpreview.com/reviews/canong1/3; https://www.dpreview.com/reviews/canong1/7.



                                                         - 27 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 28 of 64 PageID #: 223




                                                                                             23


           39.     The Olympus E-10, also released in 2000, is another example of a camera featuring

Live Preview functionality on an LCD screen. 24

           40.     An image of the Olympus E-10, showing the LCD screen, is below:




23
     http://www.dpreview.com/files/p/articles/4088819590/Images/allroundview.jpeg.
24
     https://www.dpreview.com/reviews/olympuse10; https://www.dpreview.com/reviews/olympuse10/8.



                                                      - 28 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 29 of 64 PageID #: 224




                                                                                              25



           41.     In 2003, Leica announced the Digilux 2 digital camera, which featured an LCD

screen, Live Preview, and a setting allowing for grid lines to be projected on to the image displayed

on the LCD screen. 26

           42.     Below are images demonstrating the Leica Digilux 2’s LCD screen and grid lines

projected on to the LCD screen:




25
     https://www.dpreview.com/files/p/articles/8366437308/images/allroundview.jpeg.
26
   https://www.dpreview.com/reviews/leicadigilux2; https://www.dpreview.com/reviews/leicadigilux2/7;
http://www.overgaard.dk/pdf/d2_manual.pdf (attached as Exhibit 2).



                                                       - 29 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 30 of 64 PageID #: 225




                                                                                              27




                                                                                  28


           43.     In 2005, Sony released the Cyber-shot DSC-R1, which featured an LCD screen,

Live Preview, and settings allowing for grid lines and brackets to be projected on to the image

displayed on the LCD screen. 29

           44.     Below are images demonstrating the Sony Cyber-shot DSC-R1’s LCD screen, grid

lines, and brackets projected on to the LCD screen:




27
     https://www.dpreview.com/files/p/articles/3498176754/Images/allroundview.jpeg.
28
     https://www.dpreview.com/reviews/leicadigilux2/7.
29
  https://www.dpreview.com/reviews/sonydscr1; https://www.dpreview.com/reviews/sonydscr1/7;
https://www.sony.co.uk/electronics/support/res/manuals/2654/26544941M.pdf (attached as Exhibit 3).



                                                         - 30 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 31 of 64 PageID #: 226




                                                                                           30




                                                                                      31




30
     https://www.dpreview.com/files/p/articles/2103331250/Images/lcdmonitor02.jpeg.
31
     https://www.dpreview.com/reviews/sonydscr1/7.



                                                      - 31 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 32 of 64 PageID #: 227




                                                                                  32


           45.     The user manual for the Sony Cyber-shot DSC-R1 provides “Shooting techniques”

instructions, which explain to the user how to use the grid lines to align the desired image on the

camera’s screen, as demonstrated below. 33




                                                                                                  34



           46.     In 2006, Panasonic announced the DMC-L1 camera, which featured an LCD

screen, Live Preview, and various settings allowing for certain on-screen overlays and grid lines

to be projected on to the image displayed on the LCD screen. 35

           47.     Images demonstrating the Panasonic DMC-L1’s LCD screen, grid lines, and other

on-screen overlays projected on to the LCD screen are below:



32
     https://www.dpreview.com/reviews/sonydscr1/7.
33
     https://www.sony.co.uk/electronics/support/res/manuals/2654/26544941M.pdf.
34
     Id.
35
     https://www.dpreview.com/reviews/panasonicdmcl1; https://www.dpreview.com/reviews/panasonicdmcl1/7;



                                                      - 32 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 33 of 64 PageID #: 228




                                                                                           36




                                                                                      37




36
     https://www.dpreview.com/files/p/articles/5945591128/Images/allroundview.jpeg.
37
     https://www.dpreview.com/reviews/panasonicdmcl1/7.



                                                       - 33 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 34 of 64 PageID #: 229




                                                                                38




                                                                                39



           48.     The Panasonic DMC-L1’s user manual included “Tips for taking good pictures with

Live View,” which explained how to use the grid lines to align the desired image on the camera’s

screen, as demonstrated below. 40




38
     https://www.dpreview.com/reviews/panasonicdmcl1/7.
39
     https://www.dpreview.com/reviews/panasonicdmcl1/7.
40
   https://www.panasonic.com/content/dam/Panasonic/support_manual/Digital_Still_Camera/English_01-vqt0-
vqt2/vqt0w95_L1_oi.pdf (attached as Exhibit 4).



                                                     - 34 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 35 of 64 PageID #: 230




                                                                        41


           49.   The Nikon D300 was released in August of 2007. It featured an LCD screen, Live

Preview, and various settings allowing for grid lines and brackets to be projected on to the image

displayed on the LCD screen. 42

           50.   Images demonstrating the grid lines and brackets projected on to the Nikon D300’s

LCD screen are below:




41
     Id.
42
   https://www.dpreview.com/reviews/nikond300; https://www.dpreview.com/reviews/nikond300/9;
http://download.nikonimglib.com/archive2/iBuJv00Aj97i01y8BrK49XX0Ts69/D300_EU(En)04.pdf (excerpts
attached as Exhibit 5).



                                                - 35 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 36 of 64 PageID #: 231




                                                                                43




                                                                                     44




43
     https://en.wikipedia.org/wiki/Live_preview#/media/File:D300liveview.jpg.
44
     https://paulstamatiou.com/first-impressions-nikon-d300-dslr-camera/.



                                                        - 36 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 37 of 64 PageID #: 232




                                                                                45




                                                                                46


           51.     In 2007, Canon released the EOS 40D, which featured an LCD screen, Live

Preview, and a setting which featured grid lines projected on to the image displayed on the LCD

screen. 47

           52.     Images demonstrating the Canon EOS 40D’s LCD screen and grid lines projected

on to the LCD screen are below:




45
     https://www.dpreview.com/reviews/nikond300/9.
46
     https://www.dpreview.com/reviews/nikond300/9.
47
     https://www.dpreview.com/reviews/canoneos40d; https://www.dpreview.com/reviews/canoneos40d/10.



                                                     - 37 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 38 of 64 PageID #: 233




                                                                                               48




                                                                                      49



           53.     The Canon EOS 40D’s user manual explained that the grid display setting “make[s]

it easier to align the horizontal or vertical shot.” 50




48
     https://www.dpreview.com/files/p/articles/0865616433/Images/allroundview.jpeg.
49
     https://www.dpreview.com/reviews/canoneos40d/10.
50
     http://gdlp01.c-wss.com/gds/6/0900008236/01/EOS40D_HG_EN.pdf (excerpts attached as Exhibit 6).



                                                       - 38 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 39 of 64 PageID #: 234



           54.     In 2008, Nikon released the D90, which featured an LCD screen, Live Preview, and

a setting which featured grid lines projected on to the image displayed on the LCD screen. 51

           55.     Images demonstrating the grid lines projected on to the Nikon D90’s LCD screen

are below:




                                                                                         52




                                                                                 53




51
     https://www.dpreview.com/reviews/nikond90/9; https://www.dpreview.com/reviews/nikond90/10;
52
     https://en.wikipedia.org/wiki/Live_preview#/media/File:DSLR_Liveview.jpg.
53
     https://www.dpreview.com/reviews/nikond90/10.



                                                      - 39 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 40 of 64 PageID #: 235



           56.     The Nikon D90’s grid lines enable users to ensure the alignment of objects in the

desired photograph. 54

           57.     Nikon also introduced the D700 in 2008, which featured an LCD screen, Live

Preview, and settings allowing for grid lines and other on screen guides to be projected on to the

image displayed on the LCD screen. 55

           58.     Images of the Nikon D700’s LCD screen, grid lines, and other guides projected on

to the LCD screen are below:




                                                                                           56




54
  Julie Adair King, Nikon D90 for Dummies (2009). (accessible via the following link:
https://books.google.com/books?id=X-
7YHAbVlrEC&pg=PT46&lpg=PT46&dq=nikon+d90+align+grid+lines&source=bl&ots=0HwEE8_lTF&sig=Hxd
WbnAjl-QXorrdGXu-SRKKrp0&hl=en&sa=X&ved=0ahUKEwii1szomLncAhUOI6wKHf-
ND5QQ6AEIdjAI#v=onepage&q=nikon%20d90%20align%20grid%20lines&f=false).
55
     https://www.dpreview.com/reviews/nikond700; https://www.dpreview.com/reviews/nikond700/9.
56
     http://www.dpreview.com/files/p/articles/4435013201/images/allroundview.jpeg.



                                                       - 40 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 41 of 64 PageID #: 236




                                                              57




                                                              58




                                                              59




57
     https://www.dpreview.com/reviews/nikond700/9.
58
     https://www.dpreview.com/reviews/nikond700/9.
59
     https://www.dpreview.com/reviews/nikond700/9.



                                                     - 41 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 42 of 64 PageID #: 237



           59.     Also in 2008, Olympus introduced the E-30, which featured an LCD screen, Live

Preview, and settings allowing for grid lines and other on screen guides to be projected on to the

image displayed on the LCD screen. 60

           60.     Images of the Olympus E-30’s LCD screen, grid lines, and other guides projected

on to the LCD screen are below:




                                                                                                   61




60
     https://www.dpreview.com/reviews/olympuse30; https://www.dpreview.com/reviews/olympuse30/8.
61
     https://www.dpreview.com/files/p/articles/3693391491/images/lcd1.jpeg.



                                                       - 42 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 43 of 64 PageID #: 238




                                                                           62




                                                                           63


           61.     Live Preview predates the priority dates of the Asserted Patents.

           62.     Live Preview was featured in dozens of cameras prior to the priority dates of the

Asserted Patents.

           63.     Live Preview was well-understood, routine, and conventional prior to the priority

dates of the Asserted Patents.

           64.     Grid lines and other on screen displays, which allowed users to align a desired

image on a camera’s LCD screen, existed prior to the priority dates of the Asserted Patents.




62
     https://www.dpreview.com/reviews/olympuse30/8.
63
     https://www.dpreview.com/reviews/olympuse30/8.



                                                      - 43 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 44 of 64 PageID #: 239



           65.     Grid lines and other on screen displays, which allowed users to align a desired

image on a camera’s LCD screen, existed in dozens of cameras prior to the priority dates of the

Asserted Patents.

           66.     Grid lines and other on screen displays, which allowed users to align a desired

image on a camera’s LCD screen, were well-understood, routine, and conventional prior to the

priority dates of the Asserted Patents.

           67.     In 2000, Sharp introduced the J-SH04 J-Phone, which featured a built-in camera.

The J-SH04 J-Phone allowed users to take pictures using the phone’s LCD screen. 64

           68.     An image of the J-SH04 is below:




                                                                                               65



           69.     In 2002, the first U.S. camera phone was released: the Sanyo SCP-5300. It featured

a built-in camera and an LCD display. 66



64
  http://news.bbc.co.uk/2/hi/science/nature/1550622.stm; https://www.digitaltrends.com/mobile/camera-phone-
history/.
65
     https://www.digitaltrends.com/mobile/camera-phone-history/.
66
   http://www.ign.com/articles/2003/05/06/sanyo-scp-5300-review;
https://www.telegraph.co.uk/technology/0/evolution-mobile-phone-pictures/sanyo-scp-5300/.



                                                       - 44 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 45 of 64 PageID #: 240



           70.     An image of a Sanyo SCP-5300 is below:




                                                                                                 67



           71.     In 2006, Motorola announced the RAZR MAXX V6 cellphone, which featured an

LCD screen, a built-in camera, and a “focus point” displayed on the screen. 68

           72.     An excerpt from the Motorola RAZR MAXX V6’s user manual, demonstrating the

screen and “focus point,” is below:




67
     https://www.telegraph.co.uk/technology/0/evolution-mobile-phone-pictures/sanyo-scp-5300/.
68
 https://www.phonearena.com/phones/Motorola-RAZR-MAXX-V6_id1680; Motorola RAZR MAXX V6 User
Manual (attached as Exhibit 7).



                                                       - 45 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 46 of 64 PageID #: 241




                                                                                     69


           73.     On the Motorola RAZR MAXX V6, a user could take pictures using the Live

Preview functionality with the phone’s on screen display by framing the desired image on the

LCD screen, adjusting the camera angle as desired, and capturing the image.

           74.     Motorola also announced the RAZR V3xx cellphone in 2006, which similarly

featured an LCD screen, a built-in camera, and a “focus point” displayed on the screen. 70

           75.     An excerpt from the Motorola RAZR V3xx’s user manual, demonstrating the

screen and “focus point,” is below:




69
     Motorola RAZR MAXX V6 User Manual at 39.
70
     https://www.gsmarena.com/motorola_razr_v3xx-1648.php;



                                                    - 46 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 47 of 64 PageID #: 242




                                                                         71


          76.     On the Motorola RAZR MAXX V3xx, a user could take pictures using the Live

Preview functionality with the phone’s on screen display by framing the desired image on the LCD

screen, adjusting the camera angle as desired, and capturing the image.

          77.     In 2007, Nokia released the N95 cellphone. It featured a built-in camera and an

LCD screen. 72 As indicated by the user manual, below, the camera feature included a guide

projected on to the image displayed on the screen. 73




71
  https://www.cellphones.ca/downloads/phones/manuals/motorola-razr-v3xx-manual.pdf (excerpts attached as
Exhibit 8).
72
     https://www.gsmarena.com/nokia_n95-1716.php.
73
   https://www.nokia.com/en_int/phones/sites/default/files/user-guides/Nokia_N95_8GB_Extended_UG_en.pdf
(excerpts attached as Exhibit 9).



                                                    - 47 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 48 of 64 PageID #: 243



           78.      On the Nokia N95, a user could take pictures using the Live Preview functionality

with the phone’s on screen display by framing the desired image on the LCD screen, adjusting the

camera angle as desired, and capturing the image.

           79.      In 2007, Apple released the first iPhone. It featured a built-in camera and an LCD

screen. 74 On the first generation iPhone, a user could take pictures using the Live Preview

functionality with the phone’s on screen display by framing the desired image on the LCD screen,

adjusting the camera angle as desired, and capturing the image.

           80.      Also in 2007, the Helio Ocean cellphone was released. 75 It featured a built-in

camera and an LCD screen. 76 As the manual below indicates, a user could take pictures using the

Live Preview functionality with the phone’s on screen display by framing the desired image on

the LCD screen, adjusting the camera angle as desired, and capturing the image.




74
     https://www.gsmarena.com/apple_iphone-1827.php.
75
     https://www.cnet.com/products/helio-ocean/review/.
76
   https://standupwireless.com/wp-content/uploads/2017/04/Manual_PAN-TECH_OCEAN.pdf (attached as Exhibit
10).



                                                          - 48 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 49 of 64 PageID #: 244




                                                                         77



           81.     In 2008, HTC released the Touch Diamond cellphone. It featured a built-in camera

and an LCD screen. 78 As indicated by the user manual, below, the camera feature included an

auto-focus function, which projected brackets on to the image displayed on the screen. 79




77
     https://standupwireless.com/wp-content/uploads/2017/04/Manual_PAN-TECH_OCEAN.pdf.
78
     https://www.gsmarena.com/htc_touch_diamond-2368.php.
79
     HTC Touch Diamond Manual at 166 (attached as Exhibit 11).



                                                     - 49 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 50 of 64 PageID #: 245




           82.     On the HTC Touch Diamond, a user could take pictures using the Live Preview

functionality with the phone’s on screen display by framing the desired image on the LCD screen,

adjusting the camera angle as desired, and capturing the image.

           83.     In 2008, Apple released the iPhone 3G, which also featured an LCD screen and

built-in camera. 80 Like the first generation iPhone, the iPhone 3G allowed users to take pictures

using the Live Preview functionality with the phone’s on screen display by framing the desired

image on the LCD screen, adjusting the camera angle as desired, and capturing the image.

           84.     Apple introduced the iPhone 3GS on June 8, 2009, which, like its predecessors,

featured a built-in camera and an LCD screen. 81 Also like its predecessors, the iPhone 3GS

allowed users to take pictures using the Live Preview functionality with the phone’s on screen

display by framing the desired image on the LCD screen, adjusting the camera angle as desired,

and capturing the image.




80
     https://www.gsmarena.com/apple_iphone_3g-2424.php.
81
     https://www.gsmarena.com/apple_iphone_3gs-2826.php.



                                                    - 50 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 51 of 64 PageID #: 246



       85.     The use of LCD screens on camera phones, coupled with Live Preview, existed

prior to the priority date of the Asserted Patents.

       86.     The use of LCD screens on camera phones, coupled with Live Preview, existed in

dozens of camera phones prior to the priority date of the Asserted Patents.

       87.     The use of LCD screens on camera phones, coupled with Live Preview, allows

camera phone users to take pictures by framing the desired image on the LCD screen, adjusting

the camera angle as desired, and capturing the image.

       88.     The use of LCD screens on camera phones, coupled with Live Preview, was well-

understood, routine, and conventional prior to the priority date of the Asserted Patents.

       89.     The use of LCD screens on camera phones featuring on-screen guides to aid in the

taking of pictures existed prior to the priority dates of the Asserted Patents.

       90.     The use of LCD screens on camera phones featuring on-screen guides to aid in the

taking of pictures existed in dozens of camera phones prior to the priority dates of the Asserted

Patents.

       91.     The use of LCD screens on camera phones featuring on-screen guides to aid in the

taking of pictures was well-understood, routine, and conventional prior to the priority dates of the

Asserted Patents.

                             Prior Art Electronic Check Processing

       92.     Electronic processing of financial transactions has a long history, dating back

decades before the claimed priority dates of the Asserted Patents.




                                                - 51 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 52 of 64 PageID #: 247



           93.   For example, in the 1970s, Automated Clearing House (ACH) was created and

allowed for electronic financial transactions such as direct deposit or direct debit. 82

           94.   ACH was used to convert checks into electronic payments.

           95.   For example, ACH could be used in a point of purchase (POP) conversion, since

September 1999, to convert checks into an electronic transaction at a cash register while the

customer is present. Point of purchase transactions convert checks at a cash register to an

electronic transaction, void the check, and return it to a customer. 83

           96.   As another example, ACH could be used in an accounts receivable conversion

(ARC), since March 2002, to convert checks mailed or deposited to a drop box to pay a customer’s

bill. 84

           97.   As yet another example, ACH could be used in a back office conversion (BOC),

since March 16, 2007, to convert checks at a “back office” location after a customer has completed

their transaction and left the store. 85

           98.   Additionally, the Federal Reserve in the 1990s attempted to shift away from paper

via electronic check presentment (ECP). In electronic check presentment, the MICR line and the

amount of the check were electronically transmitted and a paper check or truncated check




82
  Automated Clearing Houses (ACHs), Federal Reserve Bank of New York (May 2000) (attached as Exhibit 12),
available at https://www.newyorkfed.org/aboutthefed/fedpoint/fed31.html.
83
  POP, ARC and BOC—A Comparison, Federal Reserve Banks, at 1(Jan. 7, 2009) (attached as Exhibit 13),
available at https://web.archive.org/web/20090107101808/https://www.frbservices.org/files/eventseducation/
pdf/pop_arc_boc_comparison.pdf.
84
     Id.
85
     Id.



                                                     - 52 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 53 of 64 PageID #: 248



(substitute electronic check) would be transmitted later. By 2002, 25% of checks deposited at

Federal Reserve Bank offices were deposited using electronic check presentment. 86

           99.      Prior to the claimed priority date of the Asserted Patents, it was known that a check

reader could read the MICR code on a paper check.

           100.     For example, U.S. Patent No. 5,237,620, issued on August 17, 1993, disclosed a

check reader that “detects a MICR code on a check and generates electrical signals representative

of the MICR code.” 87

           101.     Additionally, U.S. Patent No. 5,444,616, issued on August 22, 1995, disclose a

MICR reader that contains a “read head . . . that reads the account number from the magnetic ink

characters 25 printed along the bottom edge of the check.” 88

           102.     Another example is found in U.S. Patent No. 6,059,185, issued on May 9, 2000,

which discloses a “MICR reader 200 to read the checking account information pre-printed on the

check.” 89

           103.     As yet another example, U.S. Patent No. 6,351,735, issued on February 26, 2002,

discloses that “check reader 119 automatically scans the magnetic ink character recognition

(MICR) data printed along the bottom edge of the customer’s check.” 90

           104.     Accordingly, Electronic check presentment existed prior to the priority date of the

Asserted Patents.




86
  David B. Humphrey & Robert Hunt, Getting Rid of Paper: Savings From Check 21, Working Paper No. 12-12,
Research Department, Federal Reserve Bank of Philadelphia, at 9 (May 2012) (attached as Exhibit 14), available at
https://philadelphiafed.org/-/media/research-and-data/publications/working-papers/2012/wp12-12.pdf.
87
     U.S. Patent No. 5,237,620 at Abstract (attached as Exhibit 15).
88
     U.S. Patent No. 5,444,616 at 9:55-57 (attached as Exhibit 16).
89
     U.S. Patent No. 6,059,185 at 3:49-50 (attached as Exhibit 17).
90
     U.S. Patent No. 6,351,735 at 10:60-63 (attached as Exhibit 18).



                                                          - 53 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 54 of 64 PageID #: 249



           105.     Electronic check presentment, using MICR character recognition, existed prior to

the priority date of the Asserted Patents.

           106.     Electronic check presentment was well-understood, routine, and conventional prior

to the priority date of the Asserted Patents.

           107.     Electronic check presentment, using MICR character recognition, was well-

understood, routine, and conventional prior to the priority date of the Asserted Patents.

                                  Check 21 and Prior Art Check Imaging

           108.     Check float accounts for the value of checks in process of transportation and/or

collection, and represents the amount credited to the depositing bank before the value had been

debited from the paying bank. After planes were grounded in response to September 11, 2001,

check float rose significantly to $47 billion, well in excess of the daily average of $766 million for

the first eight months of 2001. 91

           109.     In response to concerns about check float after September 11, 2001, the Federal

Reserve asked Congress to change the law to allow substitute images of checks to be legally the

same as the original check. 92

           110.     In 2003, Congress passed the Check Clearing for the 21st Century Act, which has

come to be more commonly known as “Check 21.” 12 U.S.C. § 5001 et seq.

           111.     Check 21 took effect in 2004 and allowed banks to take images of the front and

back of a paper check, electronically transfer that, and print a substitute check (paper reproduction




91
  Jeffrey M. Lacker, Payment System Disruptions and the Federal Reserve Following September 11, 2001, The
Federal Reserve Bank of Richmond, at 10 (Dec. 23, 2003) (attached as Exhibit 19).
92
     Humphrey, Getting Rid of Paper, at 2.



                                                   - 54 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 55 of 64 PageID #: 250



of the front and back of the original check) for delivery to banks that would not accept checks

electronically. 93

           112.     Check 21 was recognized as having significant effects, as admitted by USAA in a

patent application filed on October 31, 2007, almost two years before the earliest claimed priority

date of the Asserted Patents:

           Upon the passage of the Check Clearing for the 21st Century Act (Check 21), the
           use of digital images for check presentment has increased dramatically, as the
           process typically reduces the time necessary for a check to clear and the cost
           associated with moving paper checks from location to location. In lieu of using a
           physical check to clear the check clearinghouse, a scanned image is used in the
           process. A person, such as a bank teller, scans the physical check upon presentment
           by a customer at a bank. The scan creates a digital image of the check. The digital
           image, along with other electronic information such as amount and account holder,
           is submitted electronically to the federal check clearinghouse system. The system
           processes the digital image of the check rather than processing the physical check
           itself. 94

           113.     Others also recognized the purpose and benefits of Check 21 in fostering innovation

and improving efficiency by allowing for electronic processing of check images, for example in

U.S. Patent No. 7,539,646, filed on October 10, 2007 and issued on May 26, 2009:

           The Check Clearing for the 21st Century Act (Check 21) became effective on Oct.
           28, 2004. Check 21 was designed to foster innovation in the payments system and
           to enhance efficiency by reducing some of the legal impediments to check
           truncation (eliminating a paper check by converting it into a digital image and
           destroying the original paper item). The law facilitates check truncation by creating
           a new negotiable instrument called a substitute check, which permits banks to
           truncate original paper checks, to process check information electronically via
           exchange of check image files, and to deliver substitute checks to banks that want
           to continue receiving paper checks. 95




93
  Check Clearing for the 21st Century Act Foundation for Check 21 Compliance Training, Federal Financial
Institutions Examination Council, (Oct. 16, 2004) (attached as Exhibit 20), available at
https://web.archive.org/web/20041016100648/https://www.ffiec.gov/exam/check21/check21foundationdoc.htm
94
     U.S. Patent No. 8,320,657 at 1:31-44 (attached as Exhibit 21).
95
     U.S. Patent No. 7,539,646 at 2:28-39 (attached as Exhibit 22).



                                                         - 55 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 56 of 64 PageID #: 251




           114.     One method for processing check images under Check 21 is to take front and back

images of a check and then process those images via optical character recognition to determine the

financial data (account number and routing number) for further processing of the check.

           115.     Prior to the claimed priority date of the Asserted Patents, it was known that one

could process images via optical character recognition (“OCR”) to identify the text present in those

images.

           116.     For example, U.S. Patent No. 5,077,805, issued on May 7, 1990, discloses a system

for optical character recognition using both “feature-based character recognition” and “template

matching character recognition.” 96

           117.     Additionally, U.S. Patent No. 5,091,968, issued on December 28, 1990, discloses

an “optical scanner” that scans a document and compares to “predetermined character-

identification patterns (templates)” to identify the characters in a document. 97

           118.     In another example, U.S. Patent No. 5,455,875, issued on August 3, 1993, discloses

“optical character recognition logic” that processes “electronically stored document images” to

identify the characters in the document. 98

           119.     In yet another example, U.S. Patent No. 6,148,102, issued on May 29, 1997,

discloses a system for using optical character recognition and “recognizing text in a multicolor

image.” 99




96
     U.S. Patent No. 5,077,805 at Abstract (attached as Exhibit 23).
97
     U.S. Patent No. 5,091,968 at Abstract (attached as Exhibit 24).
98
     U.S. Patent No. 5,455,875 at Abstract (attached as Exhibit 25).
99
     U.S. Patent No. 6,148,102 at Abstract (attached as Exhibit 26).



                                                          - 56 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 57 of 64 PageID #: 252



           120.     In yet another example, the well-known document display and processing software

suite, Adobe Acrobat, offered “Optical Character Recognition in 16 languages” with “legal,

medical, scientific, and large user-defined dictionaries” as early as 2000 in its Adobe Acrobat

Capture 3.0 release. 100

           121.     In addition, prior to the claimed priority date of the Asserted Patents, it was known

that one could take images of a check and then process those images via optical character

recognition (“OCR”).

           122.     For example, U.S. Patent No. 5,345,090, issued on March 8, 1993, discloses a check

reader with an “optical reader.” This patent explained that a signal “trigger[s] the optical detector

circuitry to begin capturing image data for the purposes of capturing MICR line data for decoding.

In this particular embodiment, the optical detector chip and associate circuity and software utilizes

a neural network technology.” 101

           123.     Additionally, U.S. Patent No. 6,181,837, issued on January 30, 2001, discloses a

check image system in which “checks 1 are then conveyed along the track 220 sequentially to

digital imager 204 . . . . The check images made by the imager are passed to the Optical Character

Recognition device (OCR) 206.” The patent explains that the OCR device “through optical

character recognition, decodes the MICR characters optically from the image.” 102

           124.     As another example, U.S. Patent No. 6,473,519, issued on October 29, 2002

discloses an “imaging assembly [for] imaging the dollar amount line of a check [that] may be, for

example, a full width imaging assembly having optics for imaging the full width of a check.” 103



100
      Big Red Book, Adobe Systems Incorporated (2000) at 10 (attached as Exhibit 27).
101
      U.S. Patent No. 5,345,090 at Abstract and 7:8-12 (attached as Exhibit 28).
102
      U.S. Patent No. 6,181,837 at 14:20-25, and 14:61-63 (attached as Exhibit 29).
103
      U.S. Patent No. 6,473,519 at 16:32-35 (attached as Exhibit 30).



                                                          - 57 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 58 of 64 PageID #: 253



           125.     In yet another example, U.S. Patent App. Pub. No. 2009/0076921, published on

March 19, 2009, discloses imaging checks via scanners, cameras, and other imaging devices: “The

POS device may scan an image of the check, using a contact image scanner (CIS), a lens reduction

scanner, a camera, or another kind of imaging device.” The publication also disclosed the

processing of those images via OCR, stating that the “POS device may perform optical character

recognition (OCR) in order to interpret the characters.” 104

           126.     Finally, prior to the claimed priority date of the Asserted Patents, it was known that

one could take images of a check using a camera.

           127.     For example, U.S. Patent App. Pub. No. 2007/0076941, published on April 5, 2007,

discloses using two cameras to image a check: “a first color imaging camera 5 a and a second color

imaging camera 5 b for capturing a color image of each side of a check (front and rear).” 105

           128.     Similarly, U.S. Patent App. Pub. No. 2007/0138255, published on June 21, 2007,

discloses using two cameras to image a check: “an upper 74a and lower 74b imaging camera for

capturing an image of each side of a check (front and rear).” 106

           129.     As another example, U.S. Patent No. 7,447,347, issued on November 4, 2008,

discloses using a digital camera to image a check: “a digital camera for recording or generating

electronic images 114 of the checks . . . . The example digital camera may record an electronic

check image 114 of the front and back of each check in black and white, grayscale, and/or

color.” 107




104
      U.S. Patent App. Pub. No. 2009/0076921 at [0022] (attached as Exhibit 31).
105
      U.S. Patent App. Pub. No. 2007/0076941 at [0017] (attached as Exhibit 32).
106
      U.S. Patent App. Pub. No. 2007/0138255 at [0017] (attached as Exhibit 33).
107
      U.S. Patent No. 7,447,347 at 4:30-34 (attached as Exhibit 34).



                                                          - 58 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 59 of 64 PageID #: 254



           130.     Indeed, USAA itself filed a patent, on October 31, 2007, nearly two years before

the claimed priority date of the Asserted Patents, disclosing using a digital camera, including a

camera on a phone, to image a check:

           Digital camera 402 may be a standalone digital camera or may be integrated with
           other electronic equipment, such as a personal data assistant, a web camera, or a
           cellular phone. FIG. 4 b is an exemplary illustration of a system using the digital
           camera of a cellular phone to capture digital images. As in FIG. 4 a, account owner
           (not shown) has account 460 with bank 430. Account owner uses computer 410 to
           establish communication pathway 420 with bank 430 in anticipation of depositing
           check 414 into account 460. Account owner uses the digital camera of cellular
           phone 405 to capture a digital image of check 414. The digital image is stored in
           cellular phone 405 after capture. 108

           131.     In yet another example, U.S. Patent App. Pub. No. 2009/0114716, published on

May 7, 2009, discloses using a phone camera to image a check: “a check image can also be

received or captured into a user's hand-held device via a camera built into the hand-held device

(e.g., phone or videophone).” 109

           132.     In sum, processing images via OCR to identify the text present in those images

existed prior to the priority date of the Asserted Patents.

           133.     Moreover, taking images of a check and then processing those images via OCR,

existed prior to the priority date of the Asserted Patents.

           134.     Finally, taking images of a check using a digital camera, including a camera on a

phone, to image a check existed prior to the priority date of the Asserted Patents

           135.     Processing images via OCR to identify the text present in those images was well-

understood, routine, and conventional prior to the priority date of the Asserted Patents.




108
      U.S. Patent No. 8,320,657 at 12:16-27 (previously attached as Exhibit 21).
109
      U.S. Patent App. Pub. No. 2009/0114716 at [0169] (attached as Exhibit 35).



                                                         - 59 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 60 of 64 PageID #: 255



       136.      Taking check images and then processing those images via OCR, was well-

understood, routine, and conventional prior to the priority date of the Asserted Patents.

       137.      Taking check images using a digital camera, including a camera on a phone was

well-understood, routine, and conventional prior to the priority date of the Asserted Patents.

           COUNT I (DECLARATION REGARDING NON-INFRINGEMENT)

       138.      Wells Fargo incorporates and realleges the foregoing paragraphs of these

counterclaims.

       139.      Based on USAA’s filing of this lawsuit and Wells Fargo’s First and Fourth

Defenses above, an actual controversy has arisen and now exists between the parties as to whether

Wells Fargo infringes the Asserted Patents.

       140.      Wells Fargo does not infringe and has not infringed, under any theory of

infringement (including directly (whether individually or jointly), indirectly (whether

contributorily or by inducement)), and/or under the doctrine of equivalents, any valid, enforceable

claim of the Asserted Patents.

       141.      Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Wells

Fargo requests a declaration by the Court that it does not infringe and has not infringed, under any

theory of infringement (including directly (whether individually or jointly) or indirectly (whether

contributorily or by inducement)), any valid, enforceable claim of the Asserted Patents.

                 COUNT II (DECLARATION REGARDING INVALIDITY)

       142.      Wells Fargo incorporates and realleges the foregoing paragraphs of these

counterclaims.

       143.      Based on USAA’s filing of this action and Wells Fargo’s Second Defense above,

an actual controversy has arisen and now exists between the parties as to the validity of the claims

of the Asserted Patents.


                                               - 60 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 61 of 64 PageID #: 256



       144.    One or more claims of the Asserted Patents are invalid under Title 35 of the United

States Code, including without limitation, §§ 101, 102, 103, and/or 112, and the rules, regulations,

and laws pertaining thereto.

       145.    Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., and

35 U.S.C. § 100 et seq., Wells Fargo requests a declaration by the Court that the claims of the

Asserted Patents are invalid under Title 35 of the United States Code for failing to satisfy the

requirements of, without limitation, 35 U.S.C. §§ 101, 102, 103, and/or 112.

                                        JURY DEMAND

       146.    Wells Fargo hereby demands trial by jury on all issues.

           PRAYER FOR RELIEF ON WELLS FARGO’S COUNTERCLAIMS

       WHEREFORE, Wells Fargo asks this Court to enter judgment in Wells Fargo’s favor and

against USAA by granting the following relief:

           a) a declaration that Wells Fargo does not infringe and has not infringed, under any

theory of infringement (including directly (whether individually or jointly) or indirectly (whether

contributorily or by inducement)), any valid, enforceable claim of the Asserted Patents;

           b) a declaration by the Court that the claims of the Asserted Patents are invalid under

Title 35 of the United States Code for failing to satisfy the requirements of, without limitation, 35

U.S.C. §§ 101, 102, 103, and/or 112;

           c) a permanent injunction restraining USAA, and their respective officers, agents,

servants, employees, attorneys, and any other persons acting on their behalf or in concert with

them, from charging or threatening, orally or in writing, that the Asserted Patents have been

infringed by Wells Fargo under any subsection of 35 U.S.C. § 271; and




                                               - 61 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 62 of 64 PageID #: 257



           d) an award to Wells Fargo of its reasonable attorneys’ fees, costs, and all interest

(including without limitation any attorney fee awards based upon 35 U.S.C. § 285) and any such

other and further relief as the Court finds just and proper.




                                                - 62 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 63 of 64 PageID #: 258




 August 14, 2018.                   Respectfully submitted,

                                    WINSTON & STRAWN LLP
                                    By: /s/ Thomas M. Melsheimer
                                        Thomas M. Melsheimer
                                        Texas Bar No. 13922550
                                        tmelsheimer@winston.com
                                        Michael A. Bittner
                                        Texas Bar No. 00790975
                                        mbittner@winston.com
                                        James T. Underwood
                                        Texas Bar No. 24102587
                                        tunderwood@winston.com
                                        2121 N. Pearl Street, Suite 900
                                        Dallas, TX 75201

                                             E. Danielle T. Williams
                                             North Carolina Bar No. 23283
                                             dwilliams@winston.com
                                             Winston & Strawn LLP
                                             300 S. Tryon Street, 16th Floor
                                             Charlotte, NC 28202

                                             Matthew R. McCullough
                                             California Bar No. 301330
                                             mrmcculough@winston.com
                                             Winston & Strawn LLP
                                             275 Middlefield Road, Suite 205
                                             Menlo Park, CA 94025

                                             Counsel for Defendant
                                             Wells Fargo Bank, N.A.




                                    - 63 -
Case 2:18-cv-00245-JRG Document 16 Filed 08/14/18 Page 64 of 64 PageID #: 259



                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 14, 2018, a true and correct copy of the above and foregoing

document has been served on all counsel of record who are deemed to have consented to electronic

service via the Court’s CM/ECF system. Any other counsel of record will be served via electronic

mail.



                                                        /s/ Thomas M. Melsheimer
                                                        Thomas M. Melsheimer




                                               - 64 -
